

People v Tancredi (2020 NY Slip Op 06724)





People v Tancredi


2020 NY Slip Op 06724


Decided on November 17, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 17, 2020

Before: Friedman, J.P., Renwick, Webber, González, JJ. 


Ind No. 2833/17 Appeal No. 12390 Case No. 2019-03854 

[*1]The People of The State of New York, Respondent, 
vAndrew Tancredi, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Ronald Alfano of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Luis Morales of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Maxwell T. Wiley, J.), rendered February 27, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 17, 2020
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








